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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,
and THE STATE OF MICHIGAN,                   Civil Case No. 19-12165

             Plaintiffs,                     Honorable Arthur J. Tarnow
                                             Mag. Judge R. Steven Whalen
ex rel. MICHAEL ANGELO,

             Plaintiff/Relator,
                                             FILED UNDER SEAL
vs.

STATE FARM MUTUAL
AUTOMOBILE INSURANCE
COMPANY,

          Defendant.
____________________________________/

            THE GOVERNMENTS’ NOTICE OF ELECTION TO
                    DECLINE INTERVENTION

      Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), and

Michigan’s Medicaid False Claim Act, M.C.L. 400.610a(3)(b), the United States

and the State of Michigan (hereinafter “the Governments”) notify the Court of their

decision not to intervene in this action.

      Although the United States declines to intervene, the United States

respectfully refers the Court to 31 U.S.C. § 3730(b)(1), which allows the relator to

maintain the action in the name of the United States; providing, however, that the
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“action may be dismissed only if the court and the Attorney General give written

consent to the dismissal and their reasons for consenting.” Id. Therefore, the

United States requests that, should either the relator or the defendant propose that

this action be dismissed, settled, or otherwise discontinued, this Court solicit the

written consent of the United States before ruling or granting its approval.

      Additionally, M.C.L. 400.610a(1) permits the relator to maintain this action

in the name of the State of Michigan; providing, however, that the action may be

dismissed only if the Attorney General for the State of Michigan is notified and

given an opportunity to oppose the dismissal.

      Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States requests

that all pleadings filed in this action be served upon the United States; the United

States also requests that orders issued by the Court be sent to its counsel. The

United States reserves its right to order any deposition transcripts, to intervene in

this action, for good cause, at a later date, and to seek the dismissal of the relator’s

action or claim. The United States also requests that it be served with all notices of

appeal.

      Likewise, the Attorney General for the State of Michigan, pursuant to

M.C.L. 400.610a(6), requests that her office be served with copies of all pleadings

and court orders filed in this action. The Attorney General also requests that her

office be served with all notices of appeal.


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      Finally, the Governments request that the relator’s Complaint, this Notice,

and the accompanying proposed Order be unsealed. The Governments request that

all other papers on file in this action remain under seal because in discussing the

content and extent of the investigation, such papers are provided by law to the

Court alone for the sole purpose of evaluating whether the seal and time for

making an election to intervene should be extended.

      A proposed order accompanies this notice.

                                       Respectfully submitted,
Date: 3/9/2021
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                                       Acting United States Attorney

                                       /s/John Postulka
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                                       DANA NESSEL
                                       Michigan Attorney General
Dated: 3/9/2021
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